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                                                                  Tuesday, 02 July, 2019 12:36:37 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )       Crim. No. 17-20037
                                         )
BRENDT A. CHRISTENSEN,                   )
                                         )
      Defendant.                         )

SECOND SUPPLEMENT TO MOTION TO STRIKE VICTIM IMPACT EVIDENCE
                  DUE TO LATE DISCLOSURE

      NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Second Supplement to his Motion to Strike Victim Impact

Evidence Due to Late Disclosure states as follows:

      On June 26, 2019, Mr. Christensen filed a Motion to Strike the Victim Impact

Aggravator, or Alternatively, to Exclude Untimely-Disclosed Evidence (R. 418). This

Motion was in response to the filing of the government’s penalty phase Exhibit List (R.

414), which disclosed to the defense, for the first time, that the government intended to

present victim impact evidence not only through live testimony from members of Ms.

Zhang’s family but also in the form of several videos of Ms. Zhang herself, her family’s

home and her schools, seven videotaped interviews of Ms. Zhang’s friends together

with transcripts translated into English, and an unspecified number of additional




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photographs of Ms. Zhang,1 of items in her apartment in Champaign and of items

associated with each of the seven friends. None of this evidence had previously been

disclosed to the defense. The defense also pointed out, in writing and at the June 27,

2019, hearing on outstanding motions, that the videos were in Chinese and a

continuance would be necessary in order to allow the defense to obtain its own

independent translations of their contents. The government represented that it

intended to play clips of the videos, each about 30 minutes long.

       In open court that same day, the government provided defense counsel a thumb

drive that purportedly contained the victim impact evidence that it intends to present.

The thumb drive contains approximately 60 gigabytes of information, which includes 27

folders comprised of 143 separate files. The files on the drive took multiple hours to

download. Although the government allegedly has transcripts of these video interviews

translated into English, these have not been provided, nor have the abbreviated “clips”

that the government intends to present (or at least not in any identifiable way).

       Further examination of the files provided on the thumb drive has revealed that

there is a total of 17 hours of videotape contained therein. Undersigned counsel have

identified and consulted with translators able to translate from Chinese to English.

Given that the translation needs to be from the spoken word, as opposed to from a

written document, the translators have indicated that approximately five hours of work



1
 The government has already admitted four separate photographs of Ms. Zhang at the culpability phase of
the trial. See (R. 400); Govt. Ex’s. 1A, 1B, 1C, and 1D.
                                                   2
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will be necessary to translate each hour of videotape. Hence, a total of 85 hours of work

is required. Given other professional commitments that all translators identified already

have, it will take approximately four weeks for the work to be completed.

       In light of the fact that the penalty phase of this trial is scheduled to begin in six

days, Mr. Christensen respectfully moves to preclude the government from presenting

any of the evidence contained in its last-minute disclosure. Alternatively, if the

government is permitted to present this evidence, Mr. Christensen respectfully moves

for a continuance of the penalty phase until July 29, 2019, to allow him an adequate

opportunity to properly review and challenge it.

       WHEREFORE, Defendant requests that this Motion be granted and that the

recently disclosed evidence be excluded.

              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

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